Case 2:21-mc-00506 Document1 Filed 04/02/21 Page1lof8 Page ID#:1

AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the

Western District of North Carolina

Matthew E. Orso
Plaintiff
Vv

Todd Disner et al
Defendant

Civil Action No. 3:14-cv-00091-GCM

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 08/14/2017 .

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer

pending.

Date: 05/11/2020
CLERK OF COURT

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Sigraiure of Clerk or Deputy Clerk
Case 2:21-mc-00506 Document1 Filed 04/02/21 Page 2of8 Page ID#:2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION

 

KENNETH D. BELL, in his capacity as court-
appointed Receiver for Rex Venture Group,
LLC d/b/a ZeekRewards.com,

Plaintiff,
vs.

TODD DISNER, in his individual capacity and
in his capacity as trustee for Kestrel Spendthrift
Trust; TRUDY GILMOND; TRUDY
GILMOND, LLC; JERRY NAPIER; DARREN
MILLER; RHONDA GATES; DAVID
SORRELLS; INNOVATION MARKETING,
LLC; AARON ANDREWS; SHARA
ANDREWS; GLOBAL INTERNET
FORMULA, INC.; T. LEMONT SILVER;
KAREN SILVER; MICHAEL VAN
LEEUWEN; DURANT BROCKETT; DAVID
KETTNER; MARY KETTNER; P.A.W.S.
CAPITAL MANAGEMENT LLC; LORI JEAN
WEBER; and a Defendant Class of Net Winners
in ZEEKREWARDS.COM;

Defendants.

 

FINAL JUDGMENT

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No. 3:14-cv-91
Certified to be a true and
correct copy of the original
.S. District Court

Frank G

Western District gf N.C.
By AWAY
Deputy Clerk

Date Si \ 11.920

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3. Johns, Clerk
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In accordance with the Court’s Order Granting Entry of Final Judgment Against Certain

Net Winner Class Members, Final Judgment is hereby entered against each of the class members

listed on the following single page attachments in the amounts listed therein, which are comprised

of net winnings from the ZeekRewards scheme and prejudgment interest, calculated at the North

Carolina statutory rate of 8% per annum from August 17, 2012, which is on or after the date of the

last fraudulent transfer payment on which liability is based, to November 29, 2016, the date of the

Summary Judgment Order in this action. See N.C. Gen. Stat. § 24-4, 5 (2001): Doc. #142. An

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index of the individual class members and the amount of the Judgments against them is also
attached.

Post-judgment interest shall accrue on the entire Final Judgment, including the award of
prejudgment interest, at the rate specified under 28 U.S.C. § 1961 from the date of entry of this
Judgment until paid in full.

The Court confirms each amount listed in the attachments is the Final Judgment of the
Court against each respective Defendant and hereby authorizes the Receiver to pursue appropriate
collection proceedings.

SO ORDERED.

Signed: August 14, 2017

Graham C. Mullen md
United States District Judge “af

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Case 2:21-mc-00506 Document1 Filed 04/02/21 Page4of8 Page ID#:4

BELL v. DISNER, Case No. 3:14-cv-91

 

FINAL JUDGMENT

In accordance with the Court’s Order Granting Entry of Final Judgment Against Certain
Net Winner Class Members, Final Judgment is hereby entered against
Defendant ANTON NIZICH in the amount of $4,911.32 which is comprised of
$3,657.11 in net winnings from the ZeekRewards scheme and $1,254.21 in prejudgment
interest.  Post-judgment interest shall accrue on the total amount of this Judgment,
including prejudgment interest, at the rate specified under 28 U.S.C. § 1961 from the

date of entry of this Judgment until paid in full.

Certified to be a true and
correct copy of the original
U.S. District Court
Frank G. Johns, Clerk
Western District,o£N.C

By: H \
Deputy Olerk _
Date SI UL ZO _

Case 3:14-cv-00091-GCM Document3qé9-2 Filed 08/14/17 Page 315 of 6861
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IN THE UNITED STATESDISTRICT COURT
FORTHE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

 

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in bis capacity as trustes for Kestrel Spendthritt

" Trust TRODY GHMOND; TRUDY

GILMOND, LLC; JERRY NAPIER: DARREN
MILLER; RHONDA GATES: DAVID
SORRELLS INNOVATION MARKETING,
LLC; AARON ANDREWS: SHARA
ANDREWS; GLOBAT. INTERNET
FORMULA, INC; T, LEMONT SILVER:
EAREN SILVER: MICHAET, VAN

_ LEEUWEN; DURANT BROCKETT; DAVDD

KETINER; MARY KETINER; PAWS.
CAPITAL MANA GEMENT LLC; LORI JEAN

WEBER; and a Defendant Class of Net Winhers ~
in ZEEKREWARDS.COM:

Defendants,

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No, 3:14-cr-51

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This ASSIGNMENT OF JUDGMENT (fhis “Assigmment”) is made es of the 16° day of

December, 2019, by Matthew E, Orso, solely in his capacity 28 court-appole °
Venture Grown, LLC Able ZeetRewerds.com, (“Assignor”) to Natiouwide Fidgment Recover,
Inc, {es the desitrice of Biz Sky Resesith Bureau, Ino, the “Assignee

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appointed Receiver for Rex

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between Asslgnor and Assignee, dated as of May 30, 2019,

“Agreement?”),

as amended (collectively, the
Case 2:21-mc-00506 Document1 Filed 04/02/21 Page 6éof8 Page ID #:6

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and SUilleiency of which are here y edmowl edged, Assionor her eby $6 dlls, pansion and extigns
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AGREEMENT, WHICH ARE INCORPORATED HEREIN BY THIS REFERENG,

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